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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Brenda Brown
                              Plaintiff,
v.                                                   Case No.: 1:16−cv−11152
                                                     Honorable Marvin E. Aspen
Kelly Services Inc
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 17, 2017:


         MINUTE entry before the Honorable Marvin E. Aspen:Defendant's reply in
support of motion to set dispositive motion filing deadline, or, in the alternative, deem
summary judgment motion timely [57] is due by 12/1/2017. Status hearing of 12/14/2017
is stricken and reset for 1/11/2018 at 10:30 AM.Mailed notice(mad, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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